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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

BILLY SEWELL,                           :
                   Plaintiff,           :     1:20-cv-0144
                                        :
      v.                                :     Hon. John E. Jones III
                                        :
JOHN E. WETZEL, et al.,                 :
              Defendants.               :

                                    ORDER

                                December 29, 2020

      NOW THEREFORE, upon consideration of Defendants’ motion (Doc. 12)

for summary judgment pursuant to Federal Rule of Civil Procedure 56, and for the

reasons set forth in the Court’s Memorandum of the same date, it is hereby

ORDERED that:

      1.    Defendants’ motion (Doc. 12) for summary judgment is DEEMED
            unopposed and GRANTED.

      2.    The Clerk of Court is directed to ENTER judgment in favor of
            Defendants and against Plaintiff.

      3.    The Clerk of Court is directed to CLOSE this case.

      4.    Any appeal from this order is deemed frivolous and not in good faith.
            See 28 U.S.C. § 1915(a)(3).

                                        s/ John E. Jones III
                                        John E. Jones III, Chief Judge
                                        United States District Court
                                        Middle District of Pennsylvania
